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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION


UNITED STATES OF AMERICA ex rel.
JERRY DODD                                                                        PLAINTIFFS


vs.                                No. 4:19-cv-132-KGB


BEI PRECISION SYSTEMS & SPACE
COMPANY, INC. and J.F. LEHMAN &
COMPANY                                                                          DEFENDANTS



      RESPONSE TO ECF NO. 16 and UNOPPOSED MOTION FOR VOLUNTARY
                    DISMISSAL WITHOUT PREJUDICE

        COMES NOW Plaintiff Jerry Dodd, by and through his attorneys Daniel Ford

and Josh Sanford of Sanford Law Firm, PLLC, and for his Response to ECF No.

16 and Unopposed Motion for Voluntary Dismissal Without Prejudice, states and

alleges as follows:

        1.     On October 1, 2020, following the Government’s Notice of

Declination, this Court unsealed the case. See ECF No. 15.

        2.     On June 15, this Court ordered Plaintiff to provide a status update.

See ECF No. 16.

        3.     It is Plaintiff’s desire to voluntarily dismiss this case.

        4.     Under Fed. R. Civ. Pro. 41, Plaintiff should be allowed to voluntarily

dismiss his claims without prejudice.

        5.     Defendants have not been served with the lawsuit, but Plaintiff has

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conferred with counsel for the United States of America, and they do not oppose

this dismissal.

       6.      Accordingly, the lawsuit should be dismissed without prejudice as to

the United States of America as well.

       WHEREFORE, the Plaintiff respectfully requests that this Court dismiss

Plaintiff’s Complaint without prejudice and for all good and proper relief to which

he may be entitled, whether or not specifically requested herein.

                                                    Respectfully submitted,

                                                    PLAINTIFF JERRY DODD

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